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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                              Jointly Administered
                           Debtors.
                                                              RE: D.I. 8808

      CERTIFICATE OF NO OBJECTION REGARDING THE TWENTY-FIRST
     MONTHLY APPLICATION OF BATES WHITE, LLC FOR ALLOWANCE OF
    COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
       FROM NOVEMBER 1, 2021 TO AND INCLUDING NOVEMBER 30, 2021

                  The undersigned hereby certifies that, as of the date hereof, Bates White, LLC

(“Bates White”) has received no answer, objection or other responsive pleading to the Twenty-First

Monthly Application of Bates White, LLC for Allowance of Compensation and

Reimbursement of Expenses for the Period from November 1, 2021 to and Including

November 30, 2021 (the “Application”) (D.I. 8808), filed on February 14, 2022.

                  The undersigned further certifies that Bates White has caused the review of the

Court’s docket in these cases and that no answer, objection or other responsive pleading to the

Application appears thereon. Pursuant to the Notice, objections to the Application were to be filed

and served no later than February 28, 2022 at 4:00 p.m. (Eastern Time).

                  Accordingly, pursuant to the Order (I) Approving Procedures for (A) Interim

Compensation and Reimbursement of Expenses of Retained Professionals and (B) Expense

Reimbursement for Official Committee Members and (II) Granting Related Relief (D.I. 341) entered

1
         The Debtors in the chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
         number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
         address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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on April 6, 2020, the Debtors are authorized to pay the amount indicated below without any further

court order.

    (1) Total Fees        (2) Total Expenses           (3) 80% of           Total Debtors are
      Requested               Requested              Requested Fees         Authorized to Pay
                                                                               ( (2) + (3) )

     $515,512.50                $549.88                $412,410.00              $412,959.88

                WHEREFORE, Bates White respectfully requests that the Application be approved.


Dated: March 4, 2022                        BATES WHITE, LLC
       Washington, DC
                                             /s/ Andrew R. Evans
                                             Andrew R. Evans
                                             Partner
                                             2001 K Street NW,
                                             North Building, Suite 500
                                             Washington, DC 20006
                                             Telephone: 202-354-1187
                                             Email: andrew.evans@bateswhite.com

                                             ABUSE CLAIMS CONSULTANT AND
                                             ADVISOR TO THE DEBTORS AND
                                             DEBTORS IN POSSESSION
